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                                                                                 2022 Apr-22 PM 03:00
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


DEBORIS FORTE,                               Case No.:

               Plaintiff,

      vs.                                    COMPLAINT

CAPITAL ACCOUNTS, LLC,
                                             JURY TRIAL DEMAND
               Defendant.




      NOW COMES THE PLAINTIFF, DEBORIS FORTE, BY AND

THROUGH COUNSEL, J. DANNY HACKNEY, ESQ., and for her Complaint

against the Defendant, pleads as follows:

                                JURISDICTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.


                                     VENUE

   2. The transactions and occurrences which give rise to this action occurred in

      the City of Birmingham, Jefferson County, Alabama.

   3. Venue is proper in the Northern District of Alabama, Southern Division.
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                                  PARTIES

4. Plaintiff is a natural person residing in City of Birmingham, Jefferson

   County, Alabama.

5. The Defendant to this lawsuit is Capital Accounts, LLC (“Defendant”), is a

   foreign limited liability company that conducts business in the State of

   Alabama.

                          GENERAL ALLEGATIONS

6. Defendant is attempting to collect a consumer type debt allegedly owed by

   Plaintiff to West Princeton Dental Clinic in the amount of $500.00 (the

   “collection item”).

7. Defendant is reporting the collection item with a dispute comment on

   Plaintiff’s Equifax credit disclosure.

8. Plaintiff no longer disputes the collection item.

9. On December 15, 2021, Plaintiff obtained her Equifax credit disclosure and

   noticed Defendant reporting the collection item.

10.On or about January 6, 2022, Credit Repair Lawyers of America on behalf of

   Plaintiff, sent Defendant a letter informing Defendant that the collection

   item is inaccurate and asked Defendant to remove the dispute comment from

   the collection item.

11.Defendant received Plaintiff’s letter on January 20, 2022.
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12.On February 11, 2022, Plaintiff obtained her Equifax credit disclosure,

   which showed that Defendant last reported the collection item reflected by

   the Equifax credit disclosure on February 1, 2022 and failed or refused to

   remove the dispute comment from the collection item, in violation of the

   FDCPA.

13.Defendant’s failure to remove the inaccurate dispute remark makes the

   tradeline false and misleading to any user of the credit report. It also

   damages Plaintiff by preventing her from obtaining any mortgage loan or

   refinancing of the same, as no conventional lender will grant a mortgage

   based on any credit report that has any tradelines reported as disputed.

   Mortgage rates are now at historic lows and Plaintiff cannot participate in

   this market, due to Defendant’s failures to remove the dispute comment.

14.In the credit reporting industry, data furnishers, such as the Defendant,

   communicate electronically with the credit bureaus.

15.Defendant had more than ample time to instruct Equifax to remove the

   dispute comment from the collection item.

16.Defendant’s inaction to remove the dispute comment from the collection

   item was either negligent or willful.
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17.Plaintiff suffered pecuniary and emotional damages as a result of

   Defendant’s actions. Her credit report continues to be damaged due to the

   Defendant’s failure to properly report the collection item.

                              VIOLATION OF

         THE FAIR DEBT COLLECTION PRACTICES ACT

17.Plaintiff reincorporates the preceding allegations by reference.

18.At all relevant times, Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

19.Plaintiff is a "consumer" for purposes of the FDCPA, and the account at

   issue in this case is a consumer debt.

20.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

   ("FDCPA"), 15 U.S.C. §1692a(6).

21.Defendant's foregoing acts in attempting to collect the collection item

  violated 15 U.S.C. §1692e:

      a. 15 U.S.C. §1692e(2)(A) by falsely representing the character, amount,

         or legal status of any debt by continuing to report the collection item

         with a dispute notation after being informed of the inaccuracy; and

      b. 15 U.S.C. §1692e(8) reporting credit information which is known to be

         false, including failure to communicate that the debt is not disputed by
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            failing to remove the inaccurate dispute notation from the collection

            item after being asked to do so by Plaintiff.

   22.Plaintiff has suffered harm and damages at the hands of the Defendant as

      this harm was one that was specifically identified and intended to be

      protected against on behalf of a consumer, such as the Plaintiff, by

      Congress.

   23.Defendant’s failure to remove the erroneous dispute notation from its

      collection item on Plaintiff’s consumer credit file is annoying, humiliating,

      and embarrassing to the Plaintiff as it creates a false impression regarding

      her creditworthiness.

   24.To date, and as a direct and proximate cause of the Defendant’s failure to

      honor its statutory obligations under the FDCPA, the Plaintiff has continued

      to suffer from anxiety, embarrassment, humiliation, and stress from

      Defendant’s violations of the FDCPA. As a result of the stress caused by

      Defendant, Plaintiff has suffered from headaches and loss of sleep and it has

      exacerbated Plaintiff’s anxiety and panic attacks.

   25.Plaintiff has suffered economic, emotional, general, and statutory damages

      as a result of these violations of the FDCPA.


      WHEREFORE, PLAINTIFF PRAYS that this court grants her a judgment

against Defendant for actual damages, costs, interest, and attorneys’ fees.
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                     DEMAND FOR JUDGMENT RELIEF

   Accordingly, Plaintiff requests that the Court grant her the following relief

against the Defendant:

   a. Actual damages;

   b. Statutory damages;

   c. Statutory costs and attorneys’ fees.



                                 JURY DEMAND

      Plaintiff hereby demands a trial by Jury.



DATED: April 22, 2022




                                By: /s/ J. Danny Hackney
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